                                                                                                                                                                                                     10/18/18 5:49PM


 Fill in this information to identify the case:

 Debtor name            Tonawanda Coke Corporation

 United States Bankruptcy Court for the:                       WESTERN DISTRICT OF NEW YORK

 Case number (if known)               1-18-12156
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $       11,614,000.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $       14,977,000.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $       26,591,000.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $        8,080,303.03


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $            10,382.67

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        6,399,719.19


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $         14,490,404.89




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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 Fill in this information to identify the case:

 Debtor name         Tonawanda Coke Corporation

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF NEW YORK

 Case number (if known)         1-18-12156
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest
 2.        Cash on hand                                                                                                                              $1,000.00



 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.    Key Bank (Operating)                                     Checking                        3196                                     $3,000.00




           3.2.    Key Bank (Salary Payroll)                                Checking                        3139                                       $500.00




           3.3.    Key Bank (Hourly Payroll)                                Checking                        3147                                       $500.00




           3.4.    ADP Paycard (Aline Card)                                 Card Funding                    6848                                     $5,000.00



 4.        Other cash equivalents (Identify all)


           4.1.    Key Bank Money Market Account                                                                                                             $0.00




 5.        Total of Part 1.                                                                                                                     $10,000.00
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
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 Debtor           Tonawanda Coke Corporation                                                   Case number (If known) 1-18-12156
                  Name



 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.

 7.        Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit


           7.1.     Security and Utility Deposits (Nat Fuel, PolyTank, H&R Const)                                                        $50,000.00




           7.2.     Legal Retainers (Hodgson Russ, Harris Beach, Pepper Hamilton)                                                      $458,000.00



 8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment


           8.1.     Prepaid Insurance                                                                                                   $506,000.00




           8.2.     Prepaid Property Taxes                                                                                               $13,000.00




 9.        Total of Part 2.                                                                                                        $1,027,000.00
           Add lines 7 through 8. Copy the total to line 81.

 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable
           11a. 90 days old or less:                         1,237,000.00    -                                0.00 = ....            $1,237,000.00
                                              face amount                        doubtful or uncollectible accounts




 12.       Total of Part 3.                                                                                                        $1,237,000.00
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:          Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:          Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 2
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 Debtor         Tonawanda Coke Corporation                                                    Case number (If known) 1-18-12156
                Name




 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used    Current value of
                                                                              debtor's interest      for current value        debtor's interest
                                                                              (Where available)

 39.       Office furniture

 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           All of the above including Furniture                                         Unknown                                         $74,000.00



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                            $74,000.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used    Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value        debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

           47.1.     General Purpose Vehicles                                           Unknown                                                 $0.00



 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 3
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 Debtor         Tonawanda Coke Corporation                                                    Case number (If known) 1-18-12156
                Name

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           Material Handling Equipment                                                  Unknown                                        $695,000.00


           Machinery & Equipment                                                        Unknown                                      $6,275,000.00


           Construction in Progress                                                     Unknown                                      $2,271,000.00



 51.       Total of Part 8.                                                                                                       $9,241,000.00
           Add lines 47 through 50. Copy the total to line 87.

 52.       Is a depreciation schedule available for any of the property listed in Part 8?
               No
               Yes

 53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
               No
               Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.

 55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of                    Nature and          Net book value of      Valuation method used   Current value of
           property                                       extent of           debtor's interest      for current value       debtor's interest
           Include street address or other                debtor's interest   (Where available)
           description such as Assessor                   in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.
           55.1.
                     3860 & 3875 River
                     Road                                 Owner                         Unknown                                        $156,000.00


           55.2.
                     Land Improvements                    Owner                         Unknown                                        $755,000.00


           55.3.
                     Buildings & Ovens                    Owner                         Unknown                                      $8,700,000.00


           55.4.
                     Service Facilities                   Owner                         Unknown                                      $2,000,000.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 4
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 Debtor         Tonawanda Coke Corporation                                                    Case number (If known) 1-18-12156
                Name

            55.5.
                     3821 River Road                      Lease                         Unknown                                                  $0.00


            55.6.
                     Leasehold
                     Improvements                         Lease                         Unknown                                            $3,000.00




 56.        Total of Part 9.                                                                                                      $11,614,000.00
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
                No
               Yes

 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
               No
               Yes

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.

            General description                                               Net book value of        Valuation method used   Current value of
                                                                              debtor's interest        for current value       debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets
            Various Modular Block Patents                                               Unknown                                                  $0.00


            www.tonawandacoke.com                                                       Unknown                                                  $0.00



 61.        Internet domain names and websites

 62.        Licenses, franchises, and royalties
            Modular Block Royalties (Quarterly)                                             $0.00                                                $0.00



 63.        Customer lists, mailing lists, or other compilations

 64.        Other intangibles, or intellectual property
            Uncertain                                                                   Unknown                                         $150,000.00



 65.        Goodwill

 66.        Total of Part 10.                                                                                                        $150,000.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
               No
               Yes

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 5
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 Debtor         Tonawanda Coke Corporation                                                   Case number (If known) 1-18-12156
                Name

 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
               No
               Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
               No
               Yes

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.

                                                                                                                             Current value of
                                                                                                                             debtor's interest


 71.        Notes receivable
            Description (include name of obligor)

 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

            Deferred Taxes                                                                     Tax year various                     $3,238,000.00



 73.        Interests in insurance policies or annuities

 74.        Causes of action against third parties (whether or not a lawsuit
            has been filed)

 75.        Other contingent and unliquidated claims or causes of action of
            every nature, including counterclaims of the debtor and rights to
            set off claims

 76.        Trusts, equitable or future interests in property

 77.        Other property of any kind not already listed Examples: Season tickets,
            country club membership

            Buffalo BIlls Season Tickets                                                                                                       $0.00




 78.        Total of Part 11.                                                                                                    $3,238,000.00
            Add lines 71 through 77. Copy the total to line 90.

 79.        Has any of the property listed in Part 11 been appraised by a professional within the last year?
               No
               Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 6
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 Debtor          Tonawanda Coke Corporation                                                                          Case number (If known) 1-18-12156
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                            $10,000.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                             $1,027,000.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                 $1,237,000.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                          $74,000.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                  $9,241,000.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                     $11,614,000.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                $150,000.00

 90. All other assets. Copy line 78, Part 11.                                                    +              $3,238,000.00

 91. Total. Add lines 80 through 90 for each column                                                       $14,977,000.00             + 91b.           $11,614,000.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $26,591,000.00




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                            page 7
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 Fill in this information to identify the case:

 Debtor name          Tonawanda Coke Corporation

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF NEW YORK

 Case number (if known)              1-18-12156
                                                                                                                                               Check if this is an
                                                                                                                                               amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                      12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
           No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                     Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                 Amount of claim             Value of collateral
                                                                                                                                                 that supports this
                                                                                                                     Do not deduct the value     claim
                                                                                                                     of collateral.
 2.1    Honeywell International, Inc.                 Describe debtor's property that is subject to a lien                $8,080,303.03                   Unknown
        Creditor's Name                               sec 64.12, Block 4, Lot 3
                                                      sec 64.12, Block 1, Lot 14
                                                      Sec 64.08, Block 1, Lot 10
        115 Tabor Road                                Sec 64.12, Block 1, Lot 17
        Morris Plains, NJ 07950-2134
        Creditor's mailing address                    Describe the lien
                                                      Mortgage recorded May 9, 2017
                                                      Mortgage recorded October 31, 2017
                                                      Mortgage recorded April 26, 2018
                                                      Is the creditor an insider or related party?
        dale@allendesnoyers.com                           No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                            No
                                                          Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                            Contingent
            Yes. Specify each creditor,                   Unliquidated
        including this creditor and its relative          Disputed
        priority.



 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.               $8,080,303.03

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity




Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Tonawanda Coke Corporation

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF NEW YORK

 Case number (if known)           1-18-12156
                                                                                                                                                  Check if this is an
                                                                                                                                                  amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                    Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                         $4,812.07         $4,812.07
           American Funds                                            Check all that apply.
           P.O. Box 2280                                                Contingent
           Norfolk, VA 23501                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           10/15/2018                                                Employee Deferral. Salary employees 401K Plan.
           Last 4 digits of account number Plan                      Is the claim subject to offset?

           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (5)
                                                                        Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                         $5,570.60         $5,570.60
           Mass Mutual Financial Group                               Check all that apply.
           37 Franklin Sttreet, #600                                    Contingent
           Buffalo, NY 14202                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Employer contribution for quarter ended 7/31/18.
           05/01/2018 - 07/31/2018                                   Hourly employees 401K Plan
           Last 4 digits of account number Plan                      Is the claim subject to offset?

           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (5)
                                                                        Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                       Amount of claim




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 1 of 23
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 Debtor       Tonawanda Coke Corporation                                                              Case number (if known)            1-18-12156
              Name

 3.1      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $6,052.00
          A & F Wholesale                                                       Contingent
          2517 Long Road, Suite 2
                                                                                Unliquidated
          Grand Island, NY 14072
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes

 3.2      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $32,362.21
          ACCCI                                                                 Contingent
          25 Massachusetts Avenue, NW, Suite 800
                                                                                Unliquidated
          Washington, DC 20001
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trace Association
                                                                             Is the claim subject to offset?     No       Yes

 3.3      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $7,669.42
          ACI Controls, Inc.                                                    Contingent
          P.O. Box 8000
                                                                                Unliquidated
          Department #575
          Buffalo, NY 14224                                                     Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           Unknown
          Active Workforce Inc.                                                 Contingent
          853 Brighton Rd.
                                                                                Unliquidated
          Tonawanda, NY 14150
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $2,415.01
          Admar Construction Equipment & Supplies                               Contingent
          1950 Brighton Henrietta Townline Road
                                                                                Unliquidated
          Rochester, NY 14623-8000
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $3,133.53
          ADP Inc.                                                              Contingent
          P.O. Box 842875
                                                                                Unliquidated
          Boston, MA 02284
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $833.00
          Adsco Manufacturing Corporation                                       Contingent
          4979 Lake Ave.
                                                                                Unliquidated
          Buffalo, NY 14219
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Tonawanda Coke Corporation                                                              Case number (if known)            1-18-12156
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 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $6,000.00
          Advance Industries                                                    Contingent
          P.O. Box 173
                                                                                Unliquidated
          South Wales, NY 14139
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $21,360.00
          Advanced Manufacturing & Mechanical, Inc                              Contingent
          3043 Lakeshore Blvd., Unit 9
                                                                                Unliquidated
          Buffalo, NY 14219
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $1,177.16
          Affinity Personnel Solutions Inc.                                     Contingent
          P.O. Box 127
                                                                                Unliquidated
          Buffalo, NY 14217
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $11,992.32
          Allied Mineral Products, Inc.                                         Contingent
          P.O. Box 951410
                                                                                Unliquidated
          Cleveland, OH 44193
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $2,872.80
          Alpha Analytical, Inc.                                                Contingent
          145 Flanders Road
                                                                                Unliquidated
          Westborough, MA 01581
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $16,404.96
          American Express                                                      Contingent
          P.O. Box 650448
                                                                                Unliquidated
          ATTN: Payment Processing
          Dallas, TX 75265                                                      Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Financial Credit
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $14,707.68
          Applied Industrial Technologies                                       Contingent
          22510 Network Place
                                                                                Unliquidated
          Chicago, IL 60673
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes




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 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $25,684.02
          Aptim Environmental & Infastructure                                   Contingent
          150 Royal Street
                                                                                Unliquidated
          Canton, MA 02021
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $13,435.55
          AT&T                                                                  Contingent
          P.O. Box 5019
                                                                                Unliquidated
          Carol Stream, IL 60197
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Utility
                                                                             Is the claim subject to offset?     No       Yes

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $1,068.88
          AT&T Mobility                                                         Contingent
          P.O. Box 6463
                                                                                Unliquidated
          Carol Stream, IL 60197
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Utility
                                                                             Is the claim subject to offset?     No       Yes

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $4,328.44
          Auburn Filtersense LLC                                                Contingent
          800 Cummings Center
                                                                                Unliquidated
          Suite 355W
          Beverly, MA 01915                                                     Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $36,747.47
          Ausmus Logistics LLC                                                  Contingent
          P.O. Box 633
                                                                                Unliquidated
          Buffalo, NY 14231
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes

 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $836.75
          B.J. Muirhead Company, Inc.                                           Contingent
          115 Mid County Dr.
                                                                                Unliquidated
          Orchard Park, NY 14127
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes

 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $5,408.42
          Bailey Electric Motor & Pump Supply, Inc                              Contingent
          2186 Main St.
                                                                                Unliquidated
          Corfu, NY 14036
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes




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 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $1,869.41
          Baker Corp.                                                           Contingent
          P.O. Box 843596
                                                                                Unliquidated
          Los Angeles, CA 90084
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes

 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $5,093.00
          Beacon Lubricants Inc.                                                Contingent
          1170 Edinboro Road
                                                                                Unliquidated
          Erie, PA 16512
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes

 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           Unknown
          Benchley Crane                                                        Contingent
          P.O. Box 220
                                                                                Unliquidated
          Forestville, NY 14062
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes

 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $97.00
          Bobcat of Buffalo                                                     Contingent
          6511 S. Transit Rd.
                                                                                Unliquidated
          Lockport, NY 14094
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes

 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $165.95
          Boulevard Optical                                                     Contingent
          55 Crosspoint Pkwy #120
                                                                                Unliquidated
          Getzville, NY 14068
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes

 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $73,523.17
          Brights Systems, Inc.                                                 Contingent
          P.O. Box 137
                                                                                Unliquidated
          North Tonawanda, NY 14120
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes

 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $955.54
          Brute Spring & Equipment Inc.                                         Contingent
          717 Elk Street
                                                                                Unliquidated
          Buffalo, NY 14210
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes




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 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $459.64
          Buffalo Bearings, Inc.                                                Contingent
          1175 Military Road
                                                                                Unliquidated
          Buffalo, NY 14217
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes

 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $1,936.00
          Buffalo Wire Works Company, Inc.                                      Contingent
          P.O. Box 1239
                                                                                Unliquidated
          Buffalo, NY 14240
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes

 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $205.92
          BXI Consultants Inc.                                                  Contingent
          33 Peuquet Pkwy.
                                                                                Unliquidated
          Tonawanda, NY 14150
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes

 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $475.00
          Carrier Controls                                                      Contingent
          P.O. Box 275
                                                                                Unliquidated
          Springville, NY 14141
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes

 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $12,959.36
          Chemical Distributors, Inc.                                           Contingent
          80 Metcalfe Street
                                                                                Unliquidated
          Buffalo, NY 14206
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes

 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $39,178.76
          Chiampou Travis Besaw & Kerschner LLP                                 Contingent
          5110 Main Street, Suite 215
                                                                                Unliquidated
          Buffalo, NY 14221
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes

 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $5,890.24
          City Electric Company, Inc.                                           Contingent
          P.O. Box 1018
                                                                                Unliquidated
          Syracuse, NY 13201
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes




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 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $2,037,291.00
          Clerk, U.S. District Court, WDNY                                      Contingent
          2 Niagara Square
                                                                                Unliquidated
          Buffalo, NY 14202
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Community Service Payment
                                                                             Is the claim subject to offset?     No       Yes

 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $68.00
          Computersearch Corporation                                            Contingent
          331 John James Audubon Pkwy.
                                                                                Unliquidated
          Buffalo, NY 14228
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes

 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $37,510.16
          Constellation New Energy, Inc.                                        Contingent
          P.O. Box 4640
                                                                                Unliquidated
          Carol Stream, IL 60197
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Utility
                                                                             Is the claim subject to offset?     No       Yes

 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $21,000.00
          Coopers Creek Chemical Corp.                                          Contingent
          P.O. Box 782915
                                                                                Unliquidated
          Philadelphia, PA 19178
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes

 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $22,745.00
          Corfu Machine Co.                                                     Contingent
          1977 Genesee Street
                                                                                Unliquidated
          Corfu, NY 14036
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes

 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $3,260.43
          Crawford Custom Consulting Inc.                                       Contingent
          11139 Cutter Rd.
                                                                                Unliquidated
          Meadville, PA 16335
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes

 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $343.97
          De Lage Landen Financial Services Inc.                                Contingent
          P.O. Box 41602
                                                                                Unliquidated
          Philadelphia, PA 19101
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes




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 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $9,000.00
          Dennis Lauricella                                                     Contingent
          6292 Webster Road
                                                                                Unliquidated
          Orchard Park, NY 14127
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes

 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $18,974.97
          Dival Safety Equipment, Inc.                                          Contingent
          1721 Niagara Street
                                                                                Unliquidated
          Buffalo, NY 14207
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes

 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $21,554.38
          Doritex Corporation                                                   Contingent
          11980 Walden Avenue
                                                                                Unliquidated
          Alden, NY 14004
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes

 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $830.81
          Eaton Office Supply Co.                                               Contingent
          180 John Glenn Dr.
                                                                                Unliquidated
          Buffalo, NY 14228
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes

 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $2,497.59
          ECI Macola/Max, LLC                                                   Contingent
          1136 Paysphere Circle
                                                                                Unliquidated
          Chicago, IL 60674
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes

 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $256.49
          Ed’s Tire Service Inc.                                                Contingent
          P.O. Box 2641
                                                                                Unliquidated
          Buffalo, NY 14240
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes

 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $441.22
          El-Don Battery Inc.                                                   Contingent
          4109 St. Francis Dr.
                                                                                Unliquidated
          Hamburg, NY 14075
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes




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 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $3,791.70
          ERB Company, Inc.                                                     Contingent
          1400 Seneca St.
                                                                                Unliquidated
          Buffalo, NY 14210
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes

 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $97,885.66
          Erie Coke Corporation                                                 Contingent
          P.O. Box 35317
                                                                                Unliquidated
          Newark, NJ 07193
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes

 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $400.00
          Eugene Wilkowski                                                      Contingent
          16 Sebring Drive
                                                                                Unliquidated
          Depew, NY 14043
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes

 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           Unknown
          Farley Riggers & Movers                                               Contingent
          700 Richfield Street
                                                                                Unliquidated
          Lockport, NY 14094
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes

 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $2,710.38
          Fasteners Direct                                                      Contingent
          545 Basket Road
                                                                                Unliquidated
          Webster, NY 14580
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes

 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $63.54
          Federal Express Corporation                                           Contingent
          P.O. Box 371461
                                                                                Unliquidated
          Pittsburgh, PA 15250
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes

 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $426.78
          Flagship Investment Group Inc                                         Contingent
          3939 West Ridge Road
                                                                                Unliquidated
          Erie, PA 16506
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes




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 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $8,250.00
          Fosbel Ceramic Technologies                                           Contingent
          20600 Sheldon Road
                                                                                Unliquidated
          Brookpark, OH 44142
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes

 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $5,178.63
          GDH Services, Inc.                                                    Contingent
          P.O. Box 392237
                                                                                Unliquidated
          Pittsburgh, PA 15251
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes

 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $18,951.00
          Global Environmental                                                  Contingent
          3514 New Road
                                                                                Unliquidated
          Dunkirk, NY 14048
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes

 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $6,083.69
          Grainger                                                              Contingent
          50 McKesson Parkway
                                                                                Unliquidated
          Buffalo, NY 14225
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes

 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $5,500.00
          Greenberg Traurig LLP                                                 Contingent
          200 Park Avenue
                                                                                Unliquidated
          New York, NY 10166
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes

 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $14,773.60
          Guardian Environmental Associates, Inc.                               Contingent
          2619 Parker Blvd.
                                                                                Unliquidated
          Tonawanda, NY 14150
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes

 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $450.00
          Healthworks-WNY, LLP                                                  Contingent
          P.O. Box 8000
                                                                                Unliquidated
          Department No. 2
          Buffalo, NY 14267                                                     Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $9,405.34
          Hickman Williams & Company                                            Contingent
          250 E. 5th Street, Suite 300
                                                                                Unliquidated
          Cincinnati, OH 45202
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes

 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $397.50
          Holiday Ice LLC                                                       Contingent
          322 Vine Street
                                                                                Unliquidated
          Syracuse, NY 13203
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes

 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $1,250.00
          IMAGINiT Technologies, Inc.                                           Contingent
          28127 Network Place
                                                                                Unliquidated
          Chicago, IL 60673
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes

 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $21.11
          Indiana Michigan Power Co.                                            Contingent
          P.O. Box 371496
                                                                                Unliquidated
          Pittsburgh, PA 15250
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Utility
                                                                             Is the claim subject to offset?     No       Yes

 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $79.00
          Innovative Solutions                                                  Contingent
          3495 Winton Place
                                                                                Unliquidated
          Building C, Suite 2
          Rochester, NY 14623                                                   Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $1,560.00
          Interactive Health Inc.                                               Contingent
          1700 East Golf Road, Suite 900
                                                                                Unliquidated
          Schaumburg, IL 60173
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes

 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $653.59
          J.J. Keller & Associates Inc.                                         Contingent
          P.O. Box 6609
                                                                                Unliquidated
          Carol Stream, IL 60197-6609
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes




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 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $3,764.15
          JGB Enterprises, Inc.                                                 Contingent
          115 Metropolitan Drive
                                                                                Unliquidated
          P.O. Box 209
          Liverpool, NY 13088                                                   Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $11,800.28
          K & E Fabricating Company, Inc.                                       Contingent
          40 Stanley Street
                                                                                Unliquidated
          Buffalo, NY 14206
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes

 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $2,129.41
          Kehr-Buffalo Wire Frame Co., Inc.                                     Contingent
          P.O. Box 806
                                                                                Unliquidated
          Grand Island, NY 14072
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes

 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $119.30
          Kenmore Cab Dispatch Services                                         Contingent
          35 Skillen St.
                                                                                Unliquidated
          Buffalo, NY 14207
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes

 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $1,037,467.80
          Kirchner, LLC                                                         Contingent
          P.O. Box 242
                                                                                Unliquidated
          Tonawanda, NY 14151
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes

 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $31,533.40
          Klein Steel Service, Inc.                                             Contingent
          P.O. Box 8000
                                                                                Unliquidated
          Dept. 436
          Buffalo, NY 14267                                                     Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $1,450.08
          KOM Automation Inc.                                                   Contingent
          P.O. Box 5129
                                                                                Unliquidated
          Buffalo, NY 14240
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes




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 3.78     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $1,908.00
          Kovalchick Corporation                                                Contingent
          1060 Wayne Ave.
                                                                                Unliquidated
          P.O. Box
          Indiana, PA 15701                                                     Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.79     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $26,550.00
          Kubota Materials Canada Corporation                                   Contingent
          Fahramet Division
                                                                                Unliquidated
          P.O. Box 1700
          Orillia, Ontario L3V 6L6 Canada                                       Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.80     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $3,840.00
          Kuljit Singh                                                          Contingent
          194 Enchanted Forest
                                                                                Unliquidated
          Depew, NY 14043
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes

 3.81     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $25,370.98
          Kurk Fuel Company                                                     Contingent
          78 Sawyer Avenue
                                                                                Unliquidated
          Tonawanda, NY 14150
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes

 3.82     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $1,511.08
          L.T. Harnett Trucking, Inc.                                           Contingent
          7431 State Route 7
                                                                                Unliquidated
          Kinsman, OH 44428
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes

 3.83     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $7,877.67
          Lake Foundry Ltd.
          287 S. Service Rd.                                                    Contingent
          Canada                                                                Unliquidated
          L3M 1Y6                                                               Disputed
          Grimsby, ON
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.84     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $8,242.31
          Lakes Pipe & Supply Corporation                                       Contingent
          P.O. Box 429
                                                                                Unliquidated
          Niagara Falls, NY 14302
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.85     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $12,000.00
          Lardon Construction Corporation                                       Contingent
          108 Lake Avenue
                                                                                Unliquidated
          Buffalo, NY 14219
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes

 3.86     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $1,249.00
          Len-Co Lumber                                                         Contingent
          1445 Seneca St.
                                                                                Unliquidated
          Buffalo, NY 14210
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes

 3.87     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $1,039.20
          M.B. Orsolits Co., Inc.                                               Contingent
          73 Lafayette Blvd.
                                                                                Unliquidated
          Buffalo, NY 14221
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes

 3.88     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $725.00
          Mass Mutual Financial Group                                           Contingent
          37 Franklin St., #600
                                                                                Unliquidated
          Buffalo, NY 14202
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Employee Benefits
                                                                             Is the claim subject to offset?     No       Yes

 3.89     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $967.02
          McCullagh Coffee                                                      Contingent
          245 Swan St.
                                                                                Unliquidated
          Buffalo, NY 14204
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes

 3.90     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $1,234.14
          McMaster-Carr Supply, Inc.                                            Contingent
          P.O. Box 7690
                                                                                Unliquidated
          Chicago, IL 60680-7690
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes

 3.91     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $1,675.80
          Medfirst Urgent Care, LLC                                             Contingent
          P.O. Box 8000
                                                                                Unliquidated
          Dept. 168
          Buffalo, NY 14267                                                     Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 3.92     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $1,160.55
          Meridian IT Inc.                                                      Contingent
          P. O. Box 71426
                                                                                Unliquidated
          Chicago, IL 60694
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes

 3.93     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $9,248.97
          Metalworking Lubricants Company                                       Contingent
          P.O. Box 214379
                                                                                Unliquidated
          Auburn Hills, MI 48321
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes

 3.94     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $61,978.58
          Metso Minerals Industries, Inc.                                       Contingent
          Dept. CH 19629
                                                                                Unliquidated
          Palatine, IL 60055-9629
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes

 3.95     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $1,306.20
          Midwest Industrial Supply, Inc.                                       Contingent
          P.O. Box 75545
                                                                                Unliquidated
          Cleveland, OH 44101
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes

 3.96     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $9,043.52
          Moley Magnetics, Inc.                                                 Contingent
          5202 Commerce Dr.
                                                                                Unliquidated
          Lockport, NY 14094
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes

 3.97     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $4,500.00
          NAM Manufacturers                                                     Contingent
          Center for Legal Action
                                                                                Unliquidated
          733 10th Street NW, Suite 700
          Washington, DC 20001                                                  Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.98     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $28,778.00
          National Maintenance Contracting Corp.                                Contingent
          P.O. Box 304
                                                                                Unliquidated
          Niagara Falls, NY 14304
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes




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 3.99     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $865.96
          New York State Department of Health                                   Contingent
          Wadsworth Center ELAP
                                                                                Unliquidated
          P.O. Box 509, LAB ID #10505
          Albany, NY 12201                                                      Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Government Fees
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.100    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $950.00
          Niagara Wholesale Supply Co. Inc.                                     Contingent
          4100 Witmer Rd.
                                                                                Unliquidated
          Niagara Falls, NY 14305
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes

 3.101    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $7,752.06
          NOCO Energy Corporation                                               Contingent
          Attn: Josette Puhl/Express
                                                                                Unliquidated
          2440 Sheridan Drive
          Tonawanda, NY 14150                                                   Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.102    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $0.00
          North State Supply Company                                            Contingent
          P.O. Box 70
                                                                                Unliquidated
          Buffalo, NY 14217
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes

 3.103    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $355.05
          Nuchereno Auto Inc.                                                   Contingent
          1021 Tonawanda St.
                                                                                Unliquidated
          Buffalo, NY 14207
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes

 3.104    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $0.00
          Nuway Auto Parts                                                      Contingent
          415 West Main Street
                                                                                Unliquidated
          Rochester, NY 14608
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes

 3.105    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $5,484.00
          Oak Mountain Industries                                               Contingent
          500 Superior St., #4
                                                                                Unliquidated
          Carnegie, PA 15106
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes




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 3.106    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $117.42
          Omni Services, Inc.                                                   Contingent
          P.O. Box 350016                                                       Unliquidated
          Boston, MA 02241-5160
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.107    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $2,722.68
          Orkin Pest Control                                                    Contingent
          60 Earhart Dr., Ste. 1
                                                                                Unliquidated
          Buffalo, NY 14221
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes

 3.108    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $406.38
          O’Brien & Gere Engineers, Inc.                                        Contingent
          P.O. Box 8000
                                                                                Unliquidated
          Dept. 956
          Buffalo, NY 14267                                                     Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.109    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $950.73
          Paraiso Logistics                                                     Contingent
          273 South Roycroft Boulevard
                                                                                Unliquidated
          Buffalo, NY 14225
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes

 3.110    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $579.55
          Philipps Bros. Supply Inc                                             Contingent
          2525 Kensington Ave.
                                                                                Unliquidated
          Buffalo, NY 14226
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes

 3.111    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $443.46
          Pooley Inc.                                                           Contingent
          207 West Heron Street
                                                                                Unliquidated
          Buffalo, NY 14201
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes

 3.112    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           Unknown
          Powers Coal & Coke, LLC                                               Contingent
          4807 Rockside Rd. #640
                                                                                Unliquidated
          Independence, OH 44131
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Tonawanda Coke Corporation                                                              Case number (if known)            1-18-12156
              Name

 3.113    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $2,016.25
          Powers Drivers, Inc.                                                  Contingent
          P.O. Box 10
                                                                                Unliquidated
          Buffalo, NY 14220-0010
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes

 3.114    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $7,514.28
          Praxair Distribution, Inc.                                            Contingent
          P.O. Box 120812
                                                                                Unliquidated
          Dept. 0812
          Dallas, TX 75312-0812                                                 Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.115    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $2,922.23
          Praxair Distribution, Inc.                                            Contingent
          P.O. Box 120812
                                                                                Unliquidated
          Dept. 0812
          Dallas, TX 75312-0812                                                 Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.116    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           Unknown
          R.M. Headlee Company Inc.                                             Contingent
          3649 California Rd.
                                                                                Unliquidated
          Orchard Park, NY 14127
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes

 3.117    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $2,563.29
          R.P. Adams, Inc.                                                      Contingent
          P.O. Box 95359
                                                                                Unliquidated
          Palatine, IL 60095-0359
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes

 3.118    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $779.73
          Republic Services #111                                                Contingent
          P.O. Box 9001099
                                                                                Unliquidated
          Louisville, KY 40290-1099
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes

 3.119    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $293,885.55
          Rhino Energy LLC                                                      Contingent
          424 Lewis Harget Circle, Suite 250
                                                                                Unliquidated
          Lexington, KY 40503
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Tonawanda Coke Corporation                                                              Case number (if known)            1-18-12156
              Name

 3.120    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $336.05
          Riverside Chemical Company                                            Contingent
          P.O. Box 197
                                                                                Unliquidated
          North Tonawanda, NY 14120-0197
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes

 3.121    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $806.91
          RL Stone Company, Inc.                                                Contingent
          1215 Mt. Read Boulevard
                                                                                Unliquidated
          Rochester, NY 14606-2817
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes

 3.122    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $8,179.07
          Root, Neal & Company                                                  Contingent
          P.O. Box 101
                                                                                Unliquidated
          Buffalo, NY 14240
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes

 3.123    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $515,635.31
          Rouse Breihan, Inc.                                                   Contingent
          P.O. Box 420
                                                                                Unliquidated
          Buffalo, NY 14226
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes

 3.124    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $761.20
          Safety-Kleen, Inc.                                                    Contingent
          P.O. Box 382066
                                                                                Unliquidated
          Pittsburgh, PA 15250
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes

 3.125    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $37,500.00
          Schagrin Associates                                                   Contingent
          900 Seventh Avenue N.W.
                                                                                Unliquidated
          Suite 500
          Washington, DC 20001                                                  Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Professional Services
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.126    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $478.88
          Seal & Design Inc.                                                    Contingent
          4015 Casilio Pkwy
                                                                                Unliquidated
          Clarence, NY 14031
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Tonawanda Coke Corporation                                                              Case number (if known)            1-18-12156
              Name

 3.127    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $10,658.09
          Siewert Equipment Co., Inc.                                           Contingent
          P.O. Box 75976
                                                                                Unliquidated
          Baltimore, MD 21275
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes

 3.128    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $966.90
          Sleep Inn                                                             Contingent
          75 Inn Keepers Lane
                                                                                Unliquidated
          Buffalo, NY 14228
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes

 3.129    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $312,532.40
          Southern Minerals, Inc.                                               Contingent
          P.O. Box 770
                                                                                Unliquidated
          Bluefield, WV 24701
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes

 3.130    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $7,840.75
          Southworth-Milton, Inc.                                               Contingent
          P.O. Box 3851
                                                                                Unliquidated
          Boston, MA 02241
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes

 3.131    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $3,170.49
          Spatial Integrated Systems, Inc.                                      Contingent
          P.O. Box 5635
                                                                                Unliquidated
          Kinston, NC 28503
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes

 3.132    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $3,009.62
          Sri Quality System Registrar                                          Contingent
          300 Northpointe Cir #304
                                                                                Unliquidated
          Mars, PA 16046
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes

 3.133    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $174.55
          Stapleco Inc.                                                         Contingent
          7172 Ellicott Road
                                                                                Unliquidated
          Orchard Park, NY 14127
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Tonawanda Coke Corporation                                                              Case number (if known)            1-18-12156
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 3.134    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $1,614.75
          Staples Business Advantage                                            Contingent
          Dept. ROC
                                                                                Unliquidated
          P.O. Box 41526
          Boston, MA 02241-5256                                                 Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.135    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $1,498.06
          Steel City Salt, LLC                                                  Contingent
          P.O. Box 226
                                                                                Unliquidated
          Bowmansville, NY 14026
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes

 3.136    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $7,285.80
          Stritt & Priebe, Inc.                                                 Contingent
          37 Clyde Ave.
                                                                                Unliquidated
          Buffalo, NY 14215
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes

 3.137    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $10,703.43
          Supervisor - Waste Water Treatment                                    Contingent
          779 Two Mile Creek
                                                                                Unliquidated
          Tonawanda, NY 14150
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes

 3.138    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $381.86
          Taylor Technologies Inc.                                              Contingent
          31 Loveton Circle
                                                                                Unliquidated
          Sparks Glencoe, MD 21152
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes

 3.139    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $4,164.00
          Teledyne Monitor Labs                                                 Contingent
          12497 Collections Drive
                                                                                Unliquidated
          Chicago, IL 60693
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes

 3.140    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $397.50
          The Holiday Ice Company                                               Contingent
          322 Vine St.                                                          Unliquidated
          Syracuse, NY 13203                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Tonawanda Coke Corporation                                                              Case number (if known)            1-18-12156
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 3.141    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $829.77
          Thermo Environmental Instruments LLC                                  Contingent
          P.O. Box 742784
                                                                                Unliquidated
          Atlanta, GA 30374-2784
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes

 3.142    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $33,013.88
          Tonawanda Town Clerk                                                  Contingent
          Room 14 Municipal Building
                                                                                Unliquidated
          2919 Delaware Avenue
          Buffalo, NY 14217                                                     Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Utility
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.143    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $4,480.00
          Total Crane Systems, Inc.                                             Contingent
          2225 Kenmore Ave., #104                                               Unliquidated
          Buffalo, NY 14207                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.144    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $745.40
          United Materials LLC                                                  Contingent
          561 Pavement Road
                                                                                Unliquidated
          Lancaster, NY 14086
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes

 3.145    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $20,150.00
          USI Insurance Services National                                       Contingent
          98 Fort Path Road
                                                                                Unliquidated
          P.O. Box 18117
          Madison, CT 06443                                                     Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.146    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $460.00
          Van Pelt Corporation                                                  Contingent
          P.O. Box 780012
                                                                                Unliquidated
          Philadelphia, PA 19178-0012
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes

 3.147    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $187,178.75
          Van Wyk Risk & Financial Management                                   Contingent
          2237 Wealthy Street
                                                                                Unliquidated
          Grand Rapids, MI 49506
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Tonawanda Coke Corporation                                                              Case number (if known)            1-18-12156
              Name

 3.148     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.             $881,910.73
           Vanocur Refractories LLC                                             Contingent
           P.O. Box 146
                                                                                Unliquidated
           Tonawanda, NY 14151-0146
                                                                                Disputed
           Date(s) debt was incurred
           Last 4 digits of account number                                   Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?       No     Yes

 3.149     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $854.84
           Waste Technology Services, Inc.                                      Contingent
           Dept. No. 389                                                        Unliquidated
           P.O. Box 8000                                                        Disputed
           Buffalo, NY 14267
                                                                             Basis for the claim:    Trade debt
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes


 3.150     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $627.20
           Willson International Inc.                                           Contingent
           160 Wales Avenue, Suite 100
                                                                                Unliquidated
           Tonawanda, NY 14150
                                                                                Disputed
           Date(s) debt was incurred
           Last 4 digits of account number                                   Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?       No     Yes

 3.151     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $1,492.80
           Young & Swartz, Inc.                                                 Contingent
           39 Cherry St.
                                                                                Unliquidated
           Buffalo, NY 14204
                                                                                Disputed
           Date(s) debt was incurred
           Last 4 digits of account number                                   Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?       No     Yes

 3.152     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $196.99
           YRC Freight                                                          Contingent
           P.O. Box 13573
                                                                                Unliquidated
           Newark, NJ 07188
                                                                                Disputed
           Date(s) debt was incurred
           Last 4 digits of account number                                   Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?       No     Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                      related creditor (if any) listed?               account number, if
                                                                                                                                                      any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                       10,382.67
 5b. Total claims from Part 2                                                                            5b.   +    $                    6,399,719.19

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.        $                        6,410,101.86


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 Fill in this information to identify the case:

 Debtor name         Tonawanda Coke Corporation

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF NEW YORK

 Case number (if known)         1-18-12156
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.1.        State what the contract or                   AT&T internet service
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                May 2020
                                                                                      AT&T Corp.
             List the contract number of any                                          One AT&T Way
                   government contract                                                Bedminster, NJ 07921-0752


 2.2.        State what the contract or                   Cisco 1921 Router
             lease is for and the nature of               Serial #FTX15428108;
             the debtor's interest                        AT&T internet service

                  State the term remaining                October 2020
                                                                                      AT&T Corp.
             List the contract number of any                                          One AT&T Way
                   government contract                                                Bedminster, NJ 07921


 2.3.        State what the contract or                   Cisco 2921 router
             lease is for and the nature of               Serial #ATT1660481;
             the debtor's interest                        AT&T point-to-point voice
                                                          service
                  State the term remaining                October 2020
                                                                                      AT&T Corp.
             List the contract number of any                                          One AT&T Way
                   government contract                                                Bedminster, NJ 07921-0752


 2.4.        State what the contract or                   Xerox Copier
             lease is for and the nature of               XGD172786; office
             the debtor's interest                        equipment

                  State the term remaining                October 2019                De Lage Landen Financial Services Inc.
                                                                                      Lease Processing Center
             List the contract number of any                                          1111 Old Eagle School Road
                   government contract                                                Wayne, PA 19087




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 Debtor 1 Tonawanda Coke Corporation                                                            Case number (if known)   1-18-12156
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease

 2.5.        State what the contract or                   Xerox Copier
             lease is for and the nature of               MX4779172; office
             the debtor's interest                        equipment

                  State the term remaining                September 2019                De Lage Landen Financial Services Inc.
                                                                                        Lease Processing Center
             List the contract number of any                                            1111 Old Eagle School Road
                   government contract                                                  Wayne, PA 19087


 2.6.        State what the contract or                   Xerox Copier
             lease is for and the nature of               XKP522007; office
             the debtor's interest                        equipment

                  State the term remaining                February 2019                 De Lage Landen Financial Services Inc.
                                                                                        Lease Processing Center
             List the contract number of any                                            1111 Old Eagle School Road
                   government contract                                                  Wayne, PA 19087


 2.7.        State what the contract or                   Doritex Corporation
             lease is for and the nature of               Uniform Supply Contract
             the debtor's interest

                  State the term remaining                October 2020
                                                                                        Doritex Corporation
             List the contract number of any                                            11980 Walden Avenue
                   government contract                                                  Alden, NY 14004


 2.8.        State what the contract or                   Gerdau-Monroe
             lease is for and the nature of               By-product coke
             the debtor's interest

                  State the term remaining                March 2019
                                                                                        Hickman Williams & Company
             List the contract number of any                                            2009 Mackenzie Way, Suite 120
                   government contract                                                  Cranberry Twp, PA 16066


 2.9.        State what the contract or                   Anthracite Industries
             lease is for and the nature of               By-product coke
             the debtor's interest

                  State the term remaining                November 2018
                                                                                        Hickman Williams & Company
             List the contract number of any                                            2009 Mackenzie Way, Suite 120
                   government contract                                                  Cranberry Twp, PA 16066


 2.10.       State what the contract or                   Asbury Graphite Mills
             lease is for and the nature of               By-product coke
             the debtor's interest

                  State the term remaining                November 2018                 Hickman Williams & Company
                                                                                        2009 Mackenzie Way, Suite 120
             List the contract number of any                                            Cranberry Twp, PA 16066
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 Debtor 1 Tonawanda Coke Corporation                                                             Case number (if known)   1-18-12156
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.11.       State what the contract or                   Hickman, Williams &
             lease is for and the nature of               Company - Sales Agency
             the debtor's interest                        Agreement

                  State the term remaining                December 2018
                                                                                         Hickman Williams & Company
             List the contract number of any                                             2009 Mackenzie Way, Suite 120
                   government contract                                                   Cranberry Twp, PA 16066


 2.12.       State what the contract or                   JGB Enterprises - hose
             lease is for and the nature of               crimper
             the debtor's interest

                  State the term remaining                February 2022                  JGB Enterprises, Inc.
                                                                                         115 Metropolitan Drive
             List the contract number of any                                             P.O. Box 209
                   government contract                                                   Liverpool, NY 13088


 2.13.       State what the contract or                   Avaya IP Office
             lease is for and the nature of               telephone system
             the debtor's interest

                  State the term remaining                November 2018
                                                                                         Meridian IT Inc.
             List the contract number of any                                             15 Hazelwood Dr., #106
                   government contract                                                   Buffalo, NY 14228


 2.14.       State what the contract or                   Powers Coal and Coke
             lease is for and the nature of               LLC - Agency agreement
             the debtor's interest

                  State the term remaining                December 2025
                                                                                         Powers Coal and Coke, LLC
             List the contract number of any                                             Lloyd Avenue
                   government contract                                                   Latrobe, PA 15650


 2.15.       State what the contract or                   Republic Services -
             lease is for and the nature of               waste collection service
             the debtor's interest

                  State the term remaining                May 2020
                                                                                         Republic Services
             List the contract number of any                                             2321 Kenmore Avenue
                   government contract                                                   Buffalo, NY 14207


 2.16.       State what the contract or                   2001 Bobcat Skid Steer
             lease is for and the nature of               Loader                         Rouse Breihan, Inc.
             the debtor's interest                        Serial #514149299; plant       P.O. Box 420
                                                          equipment                      Buffalo, NY 14226
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 Debtor 1 Tonawanda Coke Corporation                                                            Case number (if known)   1-18-12156
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease

                  State the term remaining                September 2019

             List the contract number of any
                   government contract


 2.17.       State what the contract or                   2001 JLG 800A 4x4
             lease is for and the nature of               Articulated Boom Lift
             the debtor's interest                        Serial #0300060972;
                                                          plant equipment
                  State the term remaining                September 2019
                                                                                        Rouse Breihan, Inc.
             List the contract number of any                                            P.O. Box 420
                   government contract                                                  Buffalo, NY 14226


 2.18.       State what the contract or                   2005 Catepillar 980B
             lease is for and the nature of               Series II Wheel Loader
             the debtor's interest                        Serial
                                                          #CAT0980GPAWH02434
                                                          ; plant equipment
                  State the term remaining                February 2020
                                                                                        Rouse Breihan, Inc.
             List the contract number of any                                            P.O. Box 420
                   government contract                                                  Buffalo, NY 14226


 2.19.       State what the contract or                   1991 Pierce Lance Fire
             lease is for and the nature of               Truck
             the debtor's interest                        VIN
                                                          #4PICT01DMX000553;
                                                          plant equipment
                  State the term remaining                March 2020
                                                                                        Rouse Breihan, Inc.
             List the contract number of any                                            P.O. Box 420
                   government contract                                                  Buffalo, NY 14226


 2.20.       State what the contract or                   CAT 988 Wheel Dozer
             lease is for and the nature of               Serial #50W 1441; plant
             the debtor's interest                        equipment

                  State the term remaining                September 2020
                                                                                        Rouse Breihan, Inc.
             List the contract number of any                                            P.O. Box 420
                   government contract                                                  Buffalo, NY 14226


 2.21.       State what the contract or                   2006 Terex Finlay 663T
             lease is for and the nature of               Supertrak 5 Ft. x 20 Ft. 2
             the debtor's interest                        Deck Crawler Screening
                                                          Plant
                                                          Serial #FKT560778; plant
                                                          equipment
                  State the term remaining                September 2021                Rouse Breihan, Inc.
                                                                                        P.O. Box 420
             List the contract number of any                                            Buffalo, NY 14226
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 Debtor 1 Tonawanda Coke Corporation                                                            Case number (if known)   1-18-12156
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease

                    government contract


 2.22.       State what the contract or                   1998 Catepillar 980G
             lease is for and the nature of               Wheel Loader
             the debtor's interest                        Serial #2KR02392; plant
                                                          equipment
                  State the term remaining                March 2020
                                                                                        Rouse Breihan, Inc.
             List the contract number of any                                            P.O. Box 420
                   government contract                                                  Buffalo, NY 14226


 2.23.       State what the contract or                   2006 JLG 800A 4x4
             lease is for and the nature of               Articulated Boom Lift
             the debtor's interest                        Serial #300097327; plant
                                                          equipment
                  State the term remaining                46 months
                                                                                        Rouse Breihan, Inc.
             List the contract number of any                                            P.O. Box 420
                   government contract                                                  Buffalo, NY 14226


 2.24.       State what the contract or                   2017 Jeep Cherokee
             lease is for and the nature of               VIN
             the debtor's interest                        #1C4RJFCG5HC927733;
                                                          company vehicle
                  State the term remaining                June 2020
                                                                                        Rouse Breihan, Inc.
             List the contract number of any                                            P.O. Box 420
                   government contract


 2.25.       State what the contract or                   2018 Ford Expedition
             lease is for and the nature of               VIN
             the debtor's interest                        #1FMJU1MT7FEF12607;
                                                          company vehicle
                  State the term remaining                December 2020
                                                                                        Rouse Breihan, Inc.
             List the contract number of any                                            P.O. Box 420
                   government contract                                                  Buffalo, NY 14226


 2.26.       State what the contract or                   VIN
             lease is for and the nature of               #1FM5K8D82HGB29127
             the debtor's interest

                  State the term remaining                September 2019
                                                                                        Rouse Breihan, Inc.
             List the contract number of any                                            P.O. Box 420
                   government contract                                                  Buffalo, NY 14226




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 Fill in this information to identify the case:

 Debtor name         Tonawanda Coke Corporation

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF NEW YORK

 Case number (if known)         1-18-12156
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                            Check all schedules
                                                                                                                                 that apply:
    2.1                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State      Zip Code


    2.2                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State      Zip Code


    2.3                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State      Zip Code


    2.4                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State      Zip Code




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                                                               United States Bankruptcy Court
                                                                     Western District of New York
 In re      Tonawanda Coke Corporation                                                                                Case No.       1-18-12156
                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 Tamroy, Inc.                                                        Common           100 Shares                                 Owner
 P.O. Box 610
 Getzville, NY 14068


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the President of the corporation named as the debtor in this case, declare under penalty of perjury that I have
read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



 Date October 18, 2018                                                        Signature /s/ Michael K. Durkin
                                                                                            Michael K. Durkin

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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